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The following constitutes the ruling of the court and has the force and effect therein described.



Signed July 17, 2023
                                           United States Bankruptcy Judge
______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

      IN RE:                                         §
      GREENWORKS SERVICE COMPANY INC                 §
      DEBTOR                                         §   BANKRUPTCY CASE NO. 22-32290

                              FINAL DECREE AND CLOSING OF CASE
                                        (Docket No. 101)

             On this day, the Court considered the Motion for Final Decree and Closing of Case (the

      (“Motion”) filed GreenWorks Service Company, Inc., Debtor in the above referenced matter. The

      Court finds that the Debtor filed and served the Motion on June 20, 2023, and that no objections

      to the Motion have been filed. The Court further finds that the Plan of GreenWorks Service

      Company, Inc. has been substantially consummated. It is,

             ORDERED that the Motion for Final Decree and Closing of Case is APPROVED, and the

      Chapter 11 Subchapter V case of GreenWorks Service Company, Inc. is hereby closed.

                                          # # # END OF ORDER # # #
